
320 S.W.3d 206 (2010)
In the Interest of L.L.M., L.M. and M.M., Minors,
Bobby McCulley, Jr., Appellant.
No. ED 93720.
Missouri Court of Appeals, Eastern District, Division Three.
September 7, 2010.
*207 Steven W. Niemeyer, Chesterfield, MO, for appellant.
Allison Wolff, Clayton, MO, for respondent.
Before SHERRI B. SULLIVAN, P.J., CLIFFORD H. AHRENS, J., and LAWRENCE E. MOONEY, J.

ORDER
PER CURIAM.
B.M. ("Father") appeals from the judgment of the trial court terminating his parental rights to L.M., born on July 23, 2001, L.L.M., born on July 13, 2002, and M.M., born on November 13, 2003 ("the children"). Father contends that the trial court erred in terminating his parental rights in that there was insufficient clear, cogent, and convincing evidence to support its findings under section 211.447.5(1) RSMo (2000), section 211.447.5(2), and section 211.447.5(3).
We have reviewed the briefs of the parties and the record on appeal and find no error of law. No jurisprudential purpose would be served by a written opinion. However, the parties have been furnished with a memorandum opinion for their information only, setting forth the facts and reasons for this order.
The judgment of the trial court is affirmed in accordance with Rule 84.16(b).
